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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    FURIE OPERATING ALASKA, LLC, et al.,1                      Case No. 19-11781 (LSS)

                             Debtors.
                                                               (Jointly Administered)


                       FIRST AMENDED2 NOTICE REGARDING
                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES
             TO BE REJECTED BY THE DEBTORS PURSUANT TO THE PLAN

        PLEASE TAKE NOTICE that on May 6, 2020, the Debtors filed The Second Amended
Joint Plan of Reorganization for the Debtors Under Chapter 11 of the Bankruptcy Code [Docket
No. 754] (as it may be amended, modified, or supplemented from time to time, the “Plan”) and (b)
Second Amended Disclosure Statement for the Second Amended Joint Plan of Reorganization for
the Debtors Under Chapter 11 of the Bankruptcy Code [Docket No. 755] (as it may be amended,
modified, or supplemented from time to time, the “Disclosure Statement”). On May 8, 2020, the
Bankruptcy Court entered an order (a) approving the Disclosure Statement; (b) establishing the
voting record date, voting deadline, and other dates; (c) approving procedures for soliciting,
receiving, and tabulating votes on Plan and for filing objections to Plan; (d) approving manner and
forms of notice and other related documents; and (e) granting related relief [Docket No. 761] (the
“Disclosure Statement Order”).3

        PLEASE TAKE FURTHER NOTICE that, under the Plan, the Debtors are proposing to
reject the Executory Contract(s) and Unexpired Lease(s) on Schedule 1 hereto to which you are a
party:4

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the proposed rejection
of the above Executory Contract(s) or Unexpired Lease(s) must be filed with the Bankruptcy Court

1
 The Debtors, together with the last four digits of each Debtor's federal tax identification number, are: Furie Operating
Alaska, LLC (8721); Cornucopia Oil & Gas Company, LLC (9914); and Corsair Oil & Gas LLC (8012). The location
of the Debtors' corporate headquarters and the service address for all Debtors is 188 W. Northern Lights Blvd. Suite
620, Anchorage, Alaska 99503.
2
  This First Amended Notice was filed to remove Contract No. B-36 (Firm and Interruptible Gas Sale and Purchase
Agreement dated as of March 3, 2017, between Furie Operating Alaska, LLC and Chugach Electric Association, Inc.)
from Schedule 1 hereto.
3
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Disclosure Statement Order or the Plan, as applicable.
4
 The Debtors expressly reserve the right to (a) remove any Executory Contract or Unexpired Lease from this Notice
and assume such Executory Contract or Unexpired Lease pursuant to the terms of the Plan up until the Effective Date
and (b) contest any Claim asserted in connection with rejection of any Executory Contract or Unexpired Lease.
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and served so as to be actually received by the Debtors’ undersigned counsel no later than
June 5, 2020 (the “Rejection Objection Deadline”).

        PLEASE TAKE FURTHER NOTICE that if you fail to object timely to the proposed
rejection by the Rejection Objection Deadline, you will be deemed to have assented to such
rejection.

         PLEASE TAKE FURTHER NOTICE that unless otherwise provided by an Order of the
Bankruptcy Court, any Proof of Claim based on the rejection of an Executory Contract or
Unexpired Lease under the Plan must be filed with Prime Clerk, the Debtors’ Claims and Noticing
Agent, and served on the Debtors or the Post-Effective Date Debtors, as applicable, no later than
thirty (30) days after service of notice of the Effective Date. Under the Plan, Claims based on the
rejection of an Executory contract or Unexpired Lease will be placed in class 5, for which the
anticipated distribution is $0. Proof of Claim forms may be obtained at the following websites:
https://cases.primeclerk.com/furieoperatingalaska or http://www.uscourts.gov/forms/bankruptcy-
forms/proof-claim-0. Absent further order of the Court, any Claim based upon such rejection
not filed within such time will be automatically disallowed, forever barred from being
asserted, and unenforceable against the Debtors or the Post-Effective Date Debtors, without
the need for any objection or further notice to, or action, order, or approval of, the
Bankruptcy Court.

       PLEASE TAKE FURTHER NOTICE that, the Debtors shall have the right to amend or
supplement the Rejection Notice by, among other things, removing or adding Executory Contracts
or Unexpired Leases at any time, provided that in the event of any such amendment of supplement,
the affected counterparty shall have no less than fourteen (14) days after service on such
counterparty of notice of such amendment or supplement to respond to such amendment or
supplement

        PLEASE TAKE FURTHER NOTICE that, if you have not received a copy of the Plan
or the Disclosure Statement and wish to receive copies of the same, or a copy of the Disclosure
Statement Order, related notices and other documents, you may contact the Debtors’ Claims and
Noticing Agent by: (a) calling the Debtors’ restructuring hotline at (844) 236-3904 or (b) writing
to Prime Clerk at Furie Operating Alaska Ballot Processing, c/o Prime Clerk, One Grand Central
Place, 60 East 42nd Street, Suite 1440, New York, NY 10165, or via email at
furieballots@primeclerk.com. You may also obtain copies of any pleadings filed in the Chapter
11 Cases for a fee via PACER at: http://www.deb.uscourts.gov or free of charge at
https://cases.primeclerk.com/furieoperatingalaska, by clicking on the link to Plan and Disclosure
Statement.

  PLEASE TAKE FURTHER NOTICE THAT YOU ARE RECEIVING THIS NOTICE
  BECAUSE THE DEBTORS’ RECORDS REFLECT THAT YOU ARE A PARTY TO
      AN EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT WILL
                BE REJECTED PURSUANT TO THE PLAN.

YOU ARE ADVISED TO REVIEW CAREFULLY THE INFORMATION CONTAINED
     IN THIS NOTICE AND THE RELATED PROVISIONS OF THE PLAN.


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 NO PERSON, INCLUDING PRIME CLERK, HAS BEEN AUTHORIZED TO GIVE
      ANY ADVICE, INCLUDING LEGAL ADVICE, OR TO MAKE ANY
REPRESENTATION REGARDING THE DEBTORS OR THE PLAN. YOU MAY WISH
           TO CONSULT AN ATTORNEY FOR LEGAL ADVICE.


Dated: May 15. 2020
       Wilmington, Delaware         WOMBLE BOND DICKINSON (US) LLP
                                   /s/    Ericka F. Johnson
                                   Matthew P. Ward (DE Bar No. 4471)
                                   Ericka F. Johnson (DE Bar No. 5024)
                                   1313 North Market Street, Suite 1200
                                   Wilmington, Delaware 19801
                                   Telephone:    (302) 252-4320
                                   Facsimile:    (302) 252-4330
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                                                  ericka.johnson@wbd-us.com

                                   -and-

                                   MCDERMOTT WILL & EMERY LLP
                                   Timothy W. Walsh (admitted pro hac vice)
                                   Riley T. Orloff (admitted pro hac vice)
                                   340 Madison Avenue
                                   New York, New York 10173-1922
                                   Telephone:     (212) 547-5400
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                                                  rorloff@mwe.com

                                   Counsel to the Debtors and Debtors in Possession




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                                            Schedule 1

                List of Rejected Executory Contracts and Unexpired Leases


For the avoidance of doubt, the Debtors or the Reorganized Debtors, as applicable, reserve the
right to alter, amend, modify or supplement the list of assumed Executory Contract and Unexpired
Leases in accordance with the Plan, including, without limitation, pursuant to Article V of the
Plan, which provides that:

                                  ARTICLE V
                      TREATMENT OF EXECUTORY CONTRACTS
                            AND UNEXPIRED LEASES

A.     Assumption and Rejection of Executory Contracts and Unexpired Leases

       On the Effective Date, except as otherwise provided in the Plan, each Executory
       Contract and Unexpired Lease not previously rejected, assumed, or assumed and
       assigned, including, without limitation, any employee benefit plans, severance
       plans, and other Executory Contracts under which employee obligations arise, shall
       be deemed automatically rejected pursuant to sections 365 and 1123 of the
       Bankruptcy Code, unless such Executory Contract or Unexpired Lease: (1) is
       specifically described in the Plan as to be assumed or assumed and assigned in
       connection with confirmation of the Plan, or is specifically scheduled on the
       Assumed Contracts and Leases List to be assumed or assumed and assigned (as
       specified on such list) pursuant to the Plan or the Plan Supplement; (2) is subject to
       a pending motion to assume such Unexpired Lease or Executory Contract as of the
       Effective Date; or (3) is a contract, instrument, release, indenture, or other
       agreement or document entered into in connection with the Plan.

       Unless otherwise indicated, assumptions or rejections of Executory Contracts and
       Unexpired Leases pursuant to the Plan or the Acquisition Documents are effective
       as of the Effective Date. Any motions to assume Executory Contracts or Unexpired
       Leases pending on the Effective Date shall be subject to approval by a Final Order
       of the Bankruptcy Court on or after the Effective Date. Notwithstanding anything
       to the contrary in the Plan, at the direction or with the consent of the Acquirer, and
       in accordance with the Acquisition by Foreclosure Agreement, the Acquirer (i) may
       elect to have the Debtors reject any Key Contract at any time prior to the Effective
       Date, and (ii) shall have the right to alter, amend, modify, or supplement the
       Assumed Contracts and Leases List identified in Article V.A of the Plan and in the
       Plan Supplement at any time through and including 45 days after the Effective Date.




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Contract                                                                                                                                                                                     Effective
  No.        Debtor(s) Party to Contract                                         Name of Counterparty                                               Title of Contract                          Date
  B-1    Furie Operating Alaska, LLC;      Advanced Drilling Solutions LLC                                                        Letter Agreement Re: Drilling Contract                    9/23/2016
         Cornucopia Oil & Gas Company,
         LLC
  B-2    Furie Operating Alaska, LLC       Alaska Electric and Energy Cooperative Inc                                             Gas Sale and Purchase Agreement                           6/26/2014
  B-3    Furie Operating Alaska, LLC       Alaska Electric and Energy Cooperative Inc                                             Settlement Agreement and Release                          3/17/2019
  B-4    Furie Operating Alaska, LLC       Alaska Electric and Energy Cooperative Inc                                             Gas Sale and Purchase Agreement                           6/26/2014
  B-5    Furie Operating Alaska, LLC       Alaska Electric and Energy Cooperative Inc                                             Confidentiality Agreement                                 1/30/2014
  B-6    Furie Operating Alaska, LLC       Alaska Electric and Energy Cooperative Inc                                             Amendment No. 1                                           1/29/2015
  B-7    Furie Operating Alaska, LLC       Alaska Electric and Energy Cooperative Inc                                             Amendment No. 2 to Gas Sale and Purchase Agreement        7/27/2015

  B-8    Furie Operating Alaska, LLC       Alaska Electric and Energy Cooperative Inc                                             Amendment No. 3 to Gas Sale and Purchase Agreement        9/13/2018

  B-9    Furie Operating Alaska, LLC       Alaska Electric and Energy Cooperative Inc                                             Amendment No. 4 to Gas Sale and Purchase Agreement        10/4/2018

  B-10   Furie Operating Alaska, LLC       Alaska Electric and Energy Cooperative Inc                                             Amendment No. 5 to Gas Sale and Purchase Agreement        11/8/2018

  B-11   Cornucopia Oil & Gas Company,     Alaska Electric and Energy Cooperative Inc                                             Statement of Limited Guarantee                            6/26/2014
         LLC
  B-12   Furie Operating Alaska, LLC       Alaska Electric and Energy Cooperative Inc                                             Gas Sale and Purchase Agreement                           6/26/2014
  B-13   Furie Operating Alaska, LLC       Alaska Electric and Energy Cooperative Inc                                             Amendment No. 6 to Gas Sales Agreement                    5/24/2019
  B-14   Furie Operating Alaska, LLC       All American Oilfield Associates LLC                                                   Master Service Agreement                                   4/9/2013
  B-15   Furie Operating Alaska, LLC       Ally Financial                                                                         Lease Agreement                                           4/26/2019
  B-16   Furie Operating Alaska, LLC;      Ankura Consulting Group LLC                                                            Engagement Agreement                                      3/23/2018
         Cornucopia Oil & Gas Company,
         LLC; Corsair Oil & Gas LLC
  B-17   Furie Operating Alaska, LLC       Baker Hughes Oilfield Operations Inc                                                   Master Service Agreement Modification No. 1               7/18/2013
  B-18   Furie Operating Alaska, LLC       Baker Hughes Oilfield Operations Inc                                                   Master Service Agreement                                  4/19/2011
  B-19   Furie Operating Alaska, LLC       Baker Hughes Oilfield Operations LLC                                                   Modification No. 2 Master Service Agreement               7/16/2018
  B-20   Furie Operating Alaska, LLC       Baker Petrolite Corporation                                                            Master Service Agreement Modification No. 1               7/18/2013
  B-21   Furie Operating Alaska, LLC       Baker Petrolite Corporation                                                            Master Service Agreement                                  4/19/2011
  B-22   Furie Operating Alaska, LLC       Baker Petrolite LLC                                                                    Modification No. 2 Master Service Agreement               7/16/2018
  B-23   Furie Operating Alaska, LLC       BAM Clough JV                                                                          Confidentiality Agreement                                 8/20/2014
  B-24   Furie Operating Alaska, LLC       BJ Services Company USA                                                                Master Service Agreement                                  4/19/2011
  B-25   Furie Operating Alaska, LLC       BlueCrest Alaska Operating LLC                                                         Natural Gas Exchange Agreement                             5/8/2018
  B-26   Furie Operating Alaska, LLC       Bluecrest Alaska Operating LLC                                                         Natural Gas Sale and Purchase Agreement                    5/7/2018
  B-27   Furie Operating Alaska, LLC       Briley & Associates                                                                    Residential Lease Agreement                               11/14/2016
  B-28   Furie Operating Alaska, LLC       Brutus AG (f/k/a Deutsche Oel & Gas AG)                                                Letter Agreement Re: Offshore Daywork Drilling             3/1/2016
                                                                                                                                  Contract
  B-29   Furie Operating Alaska, LLC;      Brutus AG (f/k/a Deutsche Oel & Gas AG)                                                Consent Agreement                                         9/30/2016
         Cornucopia Oil & Gas Company,
         LLC
  B-30   Furie Operating Alaska, LLC;      Brutus AG (f/k/a Deutsche Oel & Gas AG)                                                Consent and Waiver under Preferred Equity Agreements      7/15/2014
         Cornucopia Oil & Gas Company,
         LLC; Corsair Oil & Gas LLC
  B-31   Furie Operating Alaska, LLC;      Brutus AG (f/k/a Deutsche Oel & Gas AG)                                                Letter Agreement RE: Drilling Contract                    9/23/2016
         Cornucopia Oil & Gas Company,
         LLC
  B-32   Furie Operating Alaska, LLC       Brutus AG (f/k/a Deutsche Oel & Gas AG)                                                Letter Agreement Re: Drilling Contract                    9/20/2016
  B-33   Furie Operating Alaska, LLC;      Brutus AG (f/k/a Deutsche Oel & Gas AG)                                                Letter Agreement Re: Drilling Contract                    9/21/2016
         Cornucopia Oil & Gas Company,
         LLC
  B-34   Furie Operating Alaska, LLC       Brutus AG (f/k/a Deutsche Oel & Gas AG)                                                Letter Agreement Re: Offshore Daywork Drilling             3/1/2016
                                                                                                                                  Contract
  B-35   Furie Operating Alaska, LLC       CEESI Measurement Solutions Inc                                                        Master Service Agreement                                  5/29/2014
  B-37   Furie Operating Alaska, LLC       CISPRI Services LLC                                                                    Charter for Off Shore Supply and Support Services          1/4/2016
  B-38   Furie Operating Alaska, LLC       CISPRI Services LLC                                                                    Vessel Boarding and Utilization Agreement                  8/5/2016
  B-39   Furie Operating Alaska, LLC       CISPRI Services LLC                                                                    CISPRI Services Uniform Time Charter Part for Off-Shore    1/4/2016
                                                                                                                                  Supply and Support Services
  B-40   Furie Operating Alaska, LLC;      Comprator GmbH                                                                         Data Processing Agreement
         Cornucopia Oil & Gas Company,
         LLC
  B-41   Furie Operating Alaska, LLC       David W. Elder                                                                         Employment Agreement                                      2/15/2015
  B-42   Furie Operating Alaska, LLC       First Insurance Funding                                                                Commercial Premium Finance Agreement                      5/12/2019
  B-43   Furie Operating Alaska, LLC       First Insurance Funding                                                                Commercial Premium Finance Agreement                      4/26/2019
  B-44   Furie Operating Alaska, LLC       Furie Operating Alaska, LLC                                                            Furie Operating Alaska, LLC, 401(k) Plan                     N/A
  B-45   Furie Operating Alaska, LLC       Homer Electric Association Inc                                                         Statement of Limited Guarantee                            6/26/2014
  B-46   Furie Operating Alaska, LLC       Homer Electric Association Inc                                                         Confidentiality Agreement                                 1/30/2014
  B-47   Furie Operating Alaska, LLC;      Kay Rieck                                                                              Memorandum of Agreement                                   1/31/2016
         Cornucopia Oil & Gas Company,
         LLC
  B-48   Furie Operating Alaska, LLC       Key Energy Services LLC                                                                Master Service Agreement                                   9/7/2011
  B-49   Furie Operating Alaska, LLC       Key Energy Services LLC                                                                First Amendment to Master Service Agreement               2/27/2013
  B-50   Furie Operating Alaska, LLC       Kuukpik Drilling                                                                       Letter re Rental of Diverter Equipment                    5/31/2018
  B-51   Furie Operating Alaska, LLC;      M.A. (Tony) Nunes                                                                      Memorandum of Agreement                                   1/31/2016
         Cornucopia Oil & Gas Company,
         LLC
  B-52   Furie Operating Alaska, LLC       McGriff Seibels & Williams of Texas Inc                                                Cover Note                                                4/11/2019
  B-53   Furie Operating Alaska, LLC       McGriff Seibels & Williams of Texas Inc                                                Cover Note                                                4/11/2019
  B-54   Furie Operating Alaska, LLC       McGriff Seibels & Williams of Texas Inc                                                Cover Note                                                4/11/2019
  B-55   Furie Operating Alaska, LLC       McGriff Seibels & Williams of Texas Inc                                                Brokerage Service Agreement                               3/28/2018
  B-56   Furie Operating Alaska, LLC       McGriff Seibels & Williams of Texas Inc                                                Brokerage Service Agreement                               3/28/2018
  B-57   Furie Operating Alaska, LLC       McGriff Seibels & Williams of Texas Inc                                                Cover Note                                                4/11/2019
  B-58   Furie Operating Alaska, LLC       Michael L. Foster & Associates Inc                                                     Letter Agreement                                          4/17/2014
  B-59   Furie Operating Alaska, LLC       Municipality of Anchorage d/b/a Municipal Light & Power                                Interruptible Gas Sale and Purchase Agreement             8/15/2019
  B-60   Furie Operating Alaska, LLC       Nabors Alaska Drilling Inc                                                             2018 Kitchen Lights Unit Program Proposal                 5/15/2018
  B-61   Furie Operating Alaska, LLC       Nordic Calista Services                                                                Letter Agreement Re: Equipment Rental                     5/25/2018
  B-62   Furie Operating Alaska, LLC       Nordic Overseas Drilling & Services GmbH                                               Letter Agreement Re: Offshore Daywork Drilling             3/1/2016
                                                                                                                                  Contract
  B-63   Furie Operating Alaska, LLC       Nordic Overseas Drilling & Services GmbH                                               Offshore Daywork Drilling Contract - U.S.                 12/1/2015
  B-64   Furie Operating Alaska, LLC       Nordic Overseas Drilling & Services GmbH                                               Letter Agreement Re: Drilling Contract                    9/20/2016
  B-65   Furie Operating Alaska, LLC;      Nordic Overseas Drilling & Services GmbH                                               Letter Agreement Re: Drilling Contract                    9/21/2016
         Cornucopia Oil & Gas Company,
         LLC
  B-66   Furie Operating Alaska, LLC       Nordic Overseas Drilling & Services GmbH                                               Offshore Daywork Drilling Contract                        12/1/2015
  B-67   Furie Operating Alaska, LLC       Nordic Overseas Drilling & Services GmbH                                               Letter Agreement Re: Offshore Daywork Drilling             3/1/2016
                                                                                                                                  Contract
  B-68   Furie Operating Alaska, LLC       Northern Lights Center LLC                                                             International Self Storage Rules & Regulations            12/19/2016
  B-69   Cornucopia Oil & Gas Company,     Norton Rose Fulbright US LLP                                                           Legal Representation Letter                                4/4/2018
         LLC
  B-70   Furie Operating Alaska, LLC       Reed Smith LLP                                                                         Letter Re: IRS Information Document Requests               3/7/2016
  B-71   Furie Operating Alaska, LLC       Reed Smith LLP                                                                         Letter Re: General Tax Advice and Legal Assistance        12/14/2017
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B-72   Furie Operating Alaska, LLC     Seaport Global Securities LLC                                                                      Engagement Letter                                    6/5/2019
B-73   Furie Operating Alaska, LLC     Shamrock Management LLC d/b/a Shamrock Energy Solutions                                            Master Service Agreement                            3/28/2016
B-74   Furie Operating Alaska, LLC     Shelf Drilling Offshore Resources Limited II                                                       Letter Agreement re: Rig Lease                      8/25/2017
B-75   Furie Operating Alaska, LLC     Sierra Pine Resources International Inc                                                            Amendment No. 1 to Master Service Agreement          1/1/2019
B-76   Furie Operating Alaska, LLC     Sierra Pine Resources International Inc                                                            Master Service Agreement                            1/19/2018
B-77   Furie Operating Alaska, LLC     Smith International Inc.                                                                           Master Service Agreement Modification No. 1         7/17/2013
B-78   Furie Operating Alaska, LLC     Southside Classic Leasing LLC                                                                      Texas Commercial Lease Agreement                     5/1/2017
B-79   Furie Operating Alaska, LLC     Sparrows Offshore LLC                                                                              Master Service Agreement                            5/19/2014
B-80   Furie Operating Alaska, LLC     Spartan Offshore Drilling LLC                                                                      Offshore Daywork Drilling Contract                  6/19/2018
B-81   Furie Operating Alaska, LLC     Spartan Offshore Drilling LLC                                                                      Offshore Daywork Drilling Company                   6/19/2018
B-82   Furie Operating Alaska, LLC     Team Industrial Services Inc                                                                       Master Service Agreement                            5/25/2012
B-83   Furie Operating Alaska, LLC;    Tom Hord                                                                                           Memorandum of Agreement                             1/31/2016
       Cornucopia Oil & Gas Company,
       LLC
B-84   Furie Operating Alaska, LLC     United States Department of Homeland Security; Secretary of Homeland Security, Jeh Johnson; U.S.   Settlement Agreement and Mutual Release of Claims   2/3/2017
                                       Customs and Border Protection; Commissioner Gil Kerlikowski
B-85   Furie Operating Alaska, LLC     Watson Company Inc                                                                                 Master Service Agreement                            1/12/2017
B-86   Furie Operating Alaska, LLC     Watson Company Inc                                                                                 Letter Re: MSA Extension                            6/21/2013
B-87   Furie Operating Alaska, LLC     Weatherford International Inc                                                                      Master Service Agreement Modification No. 1         6/21/2013
B-88   Furie Operating Alaska, LLC     Weatherford International Inc                                                                      Master Service Agreement                             8/1/2011
